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                          EXHIBIT A
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                                                                                    ORIGINAL FILED
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             5
               Attorneys for Plaintiff,
             6 PATRICIA ANNE T. SAMSON

             7
             8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

            9                             FOR THE COUNTY OF LOS ANGELES

         10

        11                                                                            6 2 1 2 1 8
                       PATRICIA ANNE T. SAMSON,               CASE NO.
        12
                                    Plaintiff,                COMPLAINT FOR DAMAGES
        13
                          v.                                 1. DISCRIMINATION IN VIOLATION
        14                                                      OFFEHA, CALIFORNIA
                                                                GOVERNMENT CODE §§12900 et
        15                                                      seq.:
                       WELLS FARGO BANK, NATIONAL
                       ASSOCIATION, a business, form            A. PHYSICAL DISABILITY .
        16
                       unknown; and DOES 1 through 100,         B. AGE
                       inclusive,                               C. GENDER
        17                                                      D. NATIONAL ORIGIN
                                                             2. VIOLATION OF PUBLIC POLICY
        18
                                    Defendants.              3. RETALIATION IN VIOLATION OF
                                                                PUBLIC POLICY
       19                                                    4. FAILURE TO ACCOMMODATE
       20
                                                             DEMAND FOR JURY TRIAL
       21

       22

       23

       24
       25
       26 1                Plaintiff PATRICIA ANNE T. SAMSON, hereby complains and alleges against

       27 II Defendants, and each of them, as follows:

       28        III


                                                  COMPLAINT FOR DAMAGES
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          1                                       GENERAL ALLEGATIONS

          2                1.       PlaintiffisinformedandbelievesandthereonallegesthatDefendant WELLS

          3     FARGO BANK, NATIONAL ASSOCIATION (hereinafter "WELLS FARGO") is a

          4     business organization, form unknown, and at all times mentioned herein, was and is

          5     authorized to do business in the State of California, and its business office at which Plaintiff

         6      worked is located at 111 West Ocean Blvd., Suite 530, Long Beach, CA 90802, County of

         7      Los Angeles, State of California. Defendant WELLS FARGO employs 264,000 employees

         8      in the entire entity.
         9              2.          Plaintiff is ignorant of the true name's and capacities of Defendants sued

     10         herein as DOES 1 through 100, inclusive, and therefore sues these Defendants by such

     11 fictitious          names. Plaintiff will amend this Complaint as to their true names and capacities

     12        when ascertained. Plaintiff is informed and believes and thereon alleges that each of these

     13 fictitiously            named Defendants are responsible in some manner for the occurrences herein

     14        alleged, and that Plaintiffs injuries as herein alleged were proximately caused by the

     15        aforementioned Defendants.                                                              .

     16                3.         Plaintiff is informed and believes and thereon alleges that at all times herein

     17        mentioned, each of the Defendants were the agents and employees of each of the remaining

    18         Defendants and, in doing the things hereinafter alleged, were each acting within the course

    19        and scope of such agency and employment.,

    20                4.          The unlawful employment practices complained of .herein occurred in the

    21        County of Los Angeles, State of California at WELLS FARGO's office in the City of Long

    22        Beach, County of Los Angeles, California.

    23                5.          Plaintiff, PATRICIA ANNE T. SAMSON, (hereinafter "SAMSON") is

    24        currently, and has been, a resident of the County of Los Angeles, State of California at all

    25        relevant times. Plaintiff SAMSON is a49 year old female who was bom in the Philippines.

    26        Toward the end of her employment with Defendant, she was diagnosed with and suffered

    27 from        numerous disabling medical conditions (including anal fissure, cataract, cyst on her

    28        ovary, diverticulitis, hemorrhoids and endometriosis). She was also one of the oldest

                                                             2
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          1     employees in her business group.

          2             6.      On or about October 1, 2012, Plaintiff SAMSON was hired as a Portfolio

          3     Manager ("PM") by Defendant WELLS FARGO at a salary of $100,000.00 per year.

          4     Portfolio Managers handle financial analysis, structuring of loans, risk analysis and

          5     management of portfolio loans. Plaintiff also received bonuses while employed at WELLS

          6     FARGO.

          7            7.      Throughout her employment of SAMSON was assigned portfolios.

         8             8.      Plaintiff's direct Supervisor was Jason Gwin. In the Fall of 2014, Plaintiff

         9      discussed and disclosed her illness to Mr. Gwin in a face-to-face meeting. Plaintiff became

         jq JJ ill while at WELLS FARGO and for a time became unable to continue working the longer

      2 2 . hours (more than 40 hours per week). This requested accommodation limited her work on

      22       the new production initiative Mr. Gwin had recently implemented.

     13 II             9-     Plaintiff's medical leave of absence was from October 29,2014 to December

     24        8, 2014 due to the above described medical conditions: ovarian cysts, endometriosis,

     25        diverticulitis, anal fissure, hemorrhoids and cataract / blurry vision. Plaintiff returned to

     2g        work on December 9,2014 with her written accommodation from her doctor that she could

     27 II not continue working more than 40 hours a week. Plaintiff provided her note of

     2g II accommodation to supervisor Jason Gwin, who fired Plaintiff at Starbucks within ten (10)

     29 II minutes after her return from 6 weeks of medical leave. Mr. Gwin indicated the termination

    20        "was effective" December 12,2014, but asked Plaintiff to please leave as soon as possible.

    22        Mr. Gwin explained because the bank "is not doing well" there "was a need to save money'1

    22        and no need for a PM; however, five (5) days later, there was a PM job posting for a PM to

    23        be hired! After allegedly firing Plaintiff for "no money", Gwin then posted a job listing for

    24        a new PM just days after firing PM Plaintiff. Plaintiff was given a sixty (60) day notice of

    25 I "non-working classification."
    2g ||            10.     The entire termination was pretextual as Plaintiff was selected to be 'Tired"

    27        on December 1, 2014 while she was just in the 5th week of medical leave!

    28



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                   11.      Plaintiff alleges her firing was discriminatory because of Plaintiff s physical

          condition, national origin, age and gender.
                  12.       On or about April 1,2014, SAMSON informed Customer Service Manager,

         Melissa Smith, that Plaintiff had numerous women's health issues related to menses,

         including a cyst on her ovary, suffering from an anal fissure and endometriosis. Plaintiffs

         relevant medical history leading up to Plaintiffs discriminatory firing was:

                  -        03/15/2014 - Annual Woman Exam.

                  -        Dr. Singh recommended Plaintiff stop the norethindrone because Plaintiff

                           could be menopausal and better for Plaintiff s health not to take progestogen.

                           Dr Singh Ordered an ultrasound to monitor cyst in ovary within 6 months,

                -          Spring 2014 - Plaintiff disclosed and informed Customer Service Manager,
                          Melissa Smith, of Plaintiffs medical condition.

                -         June 2014,6 month review of Plaintiff was done. Excellent review with NO

                          job performance issues, and evidence of PM2 according to Mr. Gwin'splans.

                          Gwin wanted to hire additional PMs (at least 4) in a proposed reorganization,

                          evidencing that office was doing well and on track regarding performance,

               -          09/19/2014 - More disclosure of medical condition to upper management as

                          Plaintiff took PTO due to extreme pain in the abdominal, back, pelvis and

                          rectum. Over the counter pain medication was not working. Plaintiff was too

                         ill to attend office event in Ketchum. Condition was continually

                         communicated to Manager Melissa Smith. Plaintiffs primary care Dr.

                         Inocentes called in authorization for Plaintiffs ultrasound,

              -          09/19/2014- - Plaintiff had ultrasound at Pollack Imaging. Evidence of

                         worsening of condition as cyst on right ovary had doubled in size.

              -          09/22/2014 - Took PTO and again saw Dr. Singh. Reviewed result of

                         ultrasound. Cyst had doubled in size. Doctor raised concern of potential

                         cancer but will observe first. Dr. Singh again prescribed and returned

                         Plaintiff to norethindrone.


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                     09/23/2014 - 09/25/2014 - Plaintiff disclosed her medical condition to more

                    members of management, including Marty Roblee, Direct Supervisor of Loan

                    Team Manager, when Plaintiff contacted Marty Roblee requiring time off as

                    Plaintiff continued feeling terrible pain.                                     •
                    09/26/2014 - Plaintiff returned to work and further discussed her medical

                    condition with Melissa Smith. Ms. Smithexpressed concern aboutPlaintifFs

                    condition and suggested Plaintiff work from home. Ms. Smith suggested an

                    ultirasound, and Plaintiff informed her she had just done an ultrasound on

                    09/19/14 of which the ultrasound located cysts on both ovaries.

                    10/15/2014 - Went to San Francisco to attend training.

                   10/16/2014 - Plaintiff disclosed and explained her myriad of medical

                   problems and conditions to Manager, Jason Gwin. After learning all of

                   Plaintiff's medical issues, problems, etc., Jason Gwin informed Plaintiff her

                   work load would have to increase, consequently increasing work hours and

                   working days for Plaintiff.

                   During a one-on-one meeting with Gwin, Gwin informed Plaintiff that he

                   would not be able to hire another PM. He admitted that it was his own fault

                   for not filling the position when management approved the FTE addition.

                   Gwin reiterated to Plaintiff that she must work more hours and work
                   weekends because of the heavy "deal flow" with no help.

                   Plaintiff was terminated by Gwin based on Gwin's retaliatory actions. Gwin

                   punished Plaintiff for going on PTO and requesting an accommodation.

                  10/20/2014 - Dr. Singh put Plaintiffback on Lupron because Plaintiff could

                  no longer tolerate the pain. Plaintiff could not sleep at night and was having

                  spasms in the rectum. Dr. Singh told Plaintiff she would have implants in'her

                  rectal area.

                  10/27/2014 - Plaintiff emailed Jason Gwin, Marty and Ms. Smith requesting

                  permission to work from home. Plaintiff sent a separate email to Gwin

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                             stating reason for requesting work from home.
                  -         10/28/2014 - Plaintiff discussed with Dr. Singh regarding difficulty in

                            obtaining Lupron Depo and filing for disability. Dr. Singh provided leave

                            until 12/02/2014 hoping Plaintiff would improve. Plaintiff and Dr. Singh

                            discussed the possibility of surgery / hysterectomy for Plaintiff.

                 -          10/29/2014 - Plaintiff began Disability.

                 -          11/18/2014 - Plaintiff was taking pain medications for endometriosis. She

                            stopped taking such medications to prepare for colonoscopy due to pain in the

                            rectal area. Intensity of the pain medication to a 9 on a scale of 1-10.

                 -         11/19/2014 - Plaintiff had colonoscopy due to the pain in the rectal area.

                            Plaintiff gets a colonoscopy every three years. Plaintiff's mother died from

                           colon cancer. Plaintiff told Dr. Zaidel that she was experiencing pain from

                           both, endometriosis and was having spasms in rectum. Polyps were removed

                           and biopsy ordered. Pain was thought to result from hemorrhoids, stimulated

                           by preparation of colonoscopy exam. Plaintiff was also diagnosed with

                           diverticulitis.

              -            11/24/2014 - PTO leave extended by one week because Plaintiff s

                           experienced continued pain in rectum. Leave extended from 12/02/2014 to

                           12/08/2014.

              -           12/01/2014 - Evidence that Jason Gwin and HR worked on Plaintiff's

                          displacement / termination during her FMLA leave. OWBPA report is dated

                          12/1/2014.

           - _ -. . .12/05/2014 r Plaintiff made.an_appointmentwith Dr. Maeda_because_ she was.
                          having blurry vision. Plaintiff was diagnosed with a cataract. Dr. Maeda told

                          Plaintiff the blurry vision could be a side effect from the hemorrhoids

                          (steroids) medication.

             -            12/08/2014 - Dr. Singh provided Plaintiff with arelease form with restriction.

                          Plaintiff still had terrible pain in rectum.

                      ,                                6                                          .    •
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                     12/08/2014     -   Plaintiffs     treated   appointment       with    Dr. Zaidel

                     (gastroentorologist). Her polyps were benign. Plaintiff told Dr. Zaidel of

                     blurry vision and Plaintiff s inability to sleep at night. He performed an exam

                     and Plaintiff was diagnosed with an anal fissure (cut in the lining in the anus).

                    12/08/2014-Dr. Singh provided a doctor's release note which Plaintiff faxed

                    to "Leave Management." Plaintiff further emailed Gwin, Smith and Marty

                    that she was returning to work the next day (12/09/2014) with restrictions.

                    12/9/2014 - After 6 weeks away on leave, Plaintiff, still in pain, returned to

                    work. Upon arriving after the 6 weeks away, Plaintiff was immediately met

                    by Mr. Gwin at her cubicle. Plaintiff was told to follow him to Starbucks.

                    Plaintiff informed Gwin of the release she had faxed (12/08/14) to the Wells

                    Fargo 800 number and that Plaintiff had a copy of the note in her office.

                    Gwin inquired regarding the restriction and Plaintiff explained she could not

                   work more than 40 hours per week. Upon arriving at Starbucks, Gwin told

                   Plaintiff he was laying her off to "reduce expenses" as Wells Fargo Bank is

                   not doing well. Gwin would not answer when Plaintiff asked who else was

                   being laid off. Plaintiff told Gwin she did not agree with his decision

                   explaining there was a shortage of PMs in the office with too many RMs

                   and/or sales people. Plaintiff inquired how her displacement could help

                   reduce cost                                             •

                   Plaintiff reminded Gwin he gave Plaintiff a good review in June 2014 with

                   NO performance issues. Plaintiff met all metrics Gwin mentioned to Plaintiff

                  in June 2014 to allow her promotion to a PM2. Plaintiff even generated cross

                  sell for the office even though this was not Plaintiff's main duty.

                  Apparently, no consideration was given that Plaintiff was returning after 6

                  weeks from a medical leave and was diagnosed with numerous other

                  conditions (including a cysts on her ovaries, an anal fissure, endometriosis,

                  cataract, and diverticulitis). When Plaintiff inquired regarding insurance,

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    «




                                    Gwin told Plaintiff he did not know about insurance and for her to call HR.

                         -          Just days later, Gwin posted a "PM2" opening position in WFB Teamworks

                                    (Wells Fargo Bank's job search engine). The posting was only open for 5

                                    days (which was unusual). If opened that brief, then a candidate already has

                                    been identified. Clearly, Gwin was lookingto replace Plaintiff while she was

                                   on FMLA. Hie salary posted was a $135K midpoint, which saves no money

                                   by hiring a PM2,
                        -          01/12 and 13/2015 - Dr. Singh ordered a Lupron shot be given to Plaintiff
             I                     and ordered an ultrasound, which Plaintiff had ultrasound performed.
                                                                                                   t
         II             -          01/14/2015 - Dr. Zaidel ordered a blood test and CAT scan regarding increase J

         1]                     of pain in lower left abdomen and bleeding.

         1:            -        02/09/2015 - Plaintiff was "officially" terminated from Wells Fargo.

         12             13.     Throughout the entire time Plaintiff was employed with Defendant, she

         14      eceived praise for her skills and efforts.

        15             14.      Once fired, Plaintiff was replaced within two (2) weeks by a healthy, younger,

        16       ion-Filipino male.

        17             15.     At the time of her termination, Plaintiff was receiving the following

        18       ompensation and benefits:

        19                     a.        Plaintiff was paid $100,000.00 annually;

        20                     b.        Full medical and dental insurance package for Plaintiff;            .

        21                     c.        Two weeks paid vacation annually;

        22                     d.        Life insurance policy;                                     .

        23                    e.        , 100% Short Term Disability;

        24                    f.         Plaintiff received bonuses; and

    25                        g.         401(k) Plan.              •

    26                16.     As a result of Plaintiffs termination, Plaintiff has been denied all of the

    27           ove-referenced compensation and benefits.

    28

                                                               8
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           1             17.     Since her termination by Defendant, Plaintiff has not found comparable

           2     employable work and continues earning no money or benefits.
           3             18.     Plaintiff was treated in an inferior manner to other co-workers. Others were

          4      allowed to address physical disabilities and be accommodated, etc. Plaintiff was refused the

          5      ability to do same, Plaintiff was not even allowed to participate in the interactive process and

          6      her request for accommodation was simply refused as she was fired. Plaintiff's firing was

          7      discriminatory against her based on her age, gender, national origin and physical disability.

          8             19.      Plaintiff has timely filed her complaint with the State of California's

          9      Department of Fair Employment and Housing, having received a "Right to Sue" letter on

      10        May 22, 2015.
      11                                       FIRST CAUSE OF ACTION

      12          DISCRIMINATION IN VIOLATION OF FEHA, CALIFORNIA GOVERNMENT

      13          CODE §§12900 ET SEQ BASED ON: (A) PHYSICAL DISABILITY; (B) AGE;

      14                              (C) GENDER, and (D) NATIONAL ORIGIN.

      15                       (By Plaintiff Against Defendants and DOES 1 through 100)

     16                20.      Plaintiffincoiporatesparagraphs 1 through 19asthoughfullysetforfhherein.

     17                21.      At all times mentioned herein, Government Code,, §§12940-12965 et seq.

     18         were in full force and effect and were binding upon Defendants. Said sections specifically

     19        required Defendants to refrain from discriminating against any employee on the basis of

     20        physical disability, age, national origin and gender.                                       .

     21                22.     Plaintiff is informed, believes and thereupon alleges that her physical

     22        disability, age, national origin and gender were each motivating factors contributing to

     23        Plaintiffs termination by WELLS FARGO on or about December 9,2014.

     24               23.      To the extent that Plaintiffs physical disability, age, national origin and

     25        gender weremotivating factors contributing to plaintiff's termination byDefendants, saidact

    26         by Defendants constitutes employment discrimination under the laws of the State of

    27         California, of which physical disability, age, national origin and gender are "protected

    28         classes." Such discriminatory actions were each substantial factors in causing damages and

                                                           9                                           .
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          1      injuries to Plaintiff as set forth in previous paragraphs.
          2                24.     Under FEHA, California Government Code §§ 12900 et seq., a person with

          3 II Plaintiffs physical prognosis, cannot be discriminated against based on her disability, age,

          4     national origin or gender.
          5                25.     Plaintiff is informed and believes and thereon alleges, that at all times herein

          6     mentioned, each of the Defendants were the agents and employees of each of the remaining

          7     Defendants, and were in part acting within the course and scope of their employment

          8               26.     The conduct set forth herein above was extreme and outrageous and an abuse

          9     of the authority of Defendants, and each ofthem. Said conduct was intended to cause severe

      10        emotional distress and was done in conscious disregard of the probability of causing such

      11       distress. In particular, Defendants engaged in an intentional and dishonest course of conduct

      12       to create a pretext because of Plaintiffs physical disability, age, national origin and gender.

      13                  27.     As a direct result of the aforesaid acts of Defendants, Plaintiff lost, and will

     14        continue to lose, income and benefits, in an amount to be proven at trial. Plaintiffhas become
     15        distressed, aggravated, humiliated, nervous and embarrassed. This wrongful termination is

     16        a substantial factor in causing damage and injury to Plaintiff as set forth above.

     17                   28.    As a direct result of the aforesaid acts of Defendants, Plaintiff has become

     18        mentally upset, distressed and aggravated and has suffered, and will continue to suffer,

     19       humiliation, embarrassment and mental and/or emotional distress. Thereby, Plaintiff claims

     20       general damages for mental distress and aggravation in a sum according to proof at the time

     21       of trial.

     22               29.        As a proximate result of Defendants' discriminatory conduct, Plaintiff has

      5       and will incur attorneys' fees and costs, which she is entitled to recover under California

      1       Government Code § 12965(b).

      i               30.        Because the acts taken toward Plaintiff were carried out by managerial

      i       employees and partners of Defendants acting in a deliberate, cold, callous and intentional

      '       manner in order to injure and damage Plaintiff, Plaintiff requests the assessment of punitive

              damages against Defendants in an amount according to proof at the time of trial.

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           1                                  SECOND CAUSE OF ACTION

          2                                 VIOLATION OF PUBLIC POLICY

          3                              (Against All Defendants and Does 1-100)

          4             31.     Plaintiff incorporates paragraphs 1 through30asthoughiullysetforthherein.

          5             32.     The above referenced actions of Defendants constitutes a wrongful

          6     termination of Plaintiff in violation of the public policy of the State of California as reflected

          7     in its laws and policies. Said laws include, but are not limited to, Article I, Section 8 of the

          8     Constitution, as well as Government Code §12900, et seq. Defendants were obligated to

          9     refrain from discharging Plaintiff, or any employee, for reasons which violate or circumvent

      10 |J said policies or objectives which underlie each.

      11 ||             33.    As a direct result of the aforesaid acts of Defendants, Plaintiff lost, and will

      12 II continue to lose, income and benefits, in an amount to be proven at trial. Plaintiff has

      13        become distressed, aggravated and embarrassed. This wrongful termination is a substantial

      14 |) factor in causing damage and injury to Plaintiff as set forth above.
      15 ||            34.     As a direct result of the aforesaid acts of Defendants, Plaintiff has become

     16 || mentally upset, distressed and aggravated and has suffered, and will continue to sufferi
     17 || humiliation, embarrassment and mental and/or emotional distress. Thereby, Plaintiffclaims

     18 | general damages for mental distress and aggravation in a sum according to proof at the time

     19 | of trial.
     20 |              35.    Because the acts taken toward Plaintiff were carried out by managerial

     21 | employees and partners of Defendant acting in a deliberate, cold, callous and intentional

     22        manner in order to injure and damage Plaintiff, Plaintiff requests the assessment of punitive

     23        damages against Defendants in an amount according to proof at the time of trial.
     24                                      THIRD CAUSE OF ACTION

     25                       RETALIATION IN VIOLATION OF PUBLIC POLICY

     26                                  (By Plaintiff Against All Defendants)
     27               36.     Plaintiff incorporates paragraphs 1 through 35 as though fully set forth herein.

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          1                 37.     Plaintiff is informed and believes and thereon alleges that Defendants

          2         retaliated against Plaintiff for suffering from severe debilitating physical illnesses that left

          3         Plaintiff disabled and unable to work from October 29, 2014 to December 8, 2014.

          4         Defendants failed to accommodate Plaintiff as per the 40 hours a week limit provided in

          5         writing by Plaintiff's medical doctor instead choosing to fire Plaintiff just ten (10) minutes

          6         after her return from the six (6) week medical leave on December 9, 2014, simply firing

          7         Plaintiff without WELLS FARGO ever even engaging in any good faith interactive process

          8     or accommodating Plaintiff in any manner.

          9                38.     It is Plaintiff's legal right to seek all of her legal rights and remedies and

      10        attempt to protect herself from violation of the law, without being fired by her employers

      11        based on such violations of statutory acts and the law.

      12                   39.     As a proximate result of Defendants' conduct, Plaintiff has suffered harm,
     13         including lost earnings and: other employment benefits, humiliation, embarrassment and

     14         mental anguish, all to her damage in a sum to be ascertained at trial.

     15                   40.     In doing the acts set forth above, Defendants retaliated against Plaintiff

    .16        because: (1) Plaintiff reported her physical disability, age, national origin and gender

     17        discrimination claims; (2) Defendants rejected Plaintiff's request for accommodation;

     18        instead, simply firing Plaintiff without WELLS FARGO even engaging in any good faith

     19        interactive process.

     20                   41.     As a proximate result of Defendants' conduct, Plaintiff has and will incur

     21       attorneys' fees and costs, which she is entitled to recover under California Government Code

     22       § 12965(b).
     23                  42.      The conduct of Defendants in retaliating against and terminating Plaintiff, was

     24       oppressive, malicious and intentional and such conduct warrants the imposition of punitive

    25        damages in a sum according to proof at the time of trial.

    26        Ill

    27        III
    28        III
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           1 ||                                  FOURTH CAUSE OF ACTION

          2 ||                                  FAILURE TO ACCOMMODATE

          3 ||         '                       (By Plaintiff Against All Defendants)

          4 || '            43.     Plaintiffincorporates paragraphs 1 through 42 as though fully set forth herein.
          5 ||              44.     The public policy of the State of California setforth within Government Code

          6 || ^12940 supports employment and utilization of persons with a medical condition or physical

                  handicap. If it is within the ability of the employer to make a reasonable accommodation to

          8 || such medical condition, such as job restructuring, reassignment or transfer, part-time or a

          9      modified work schedule, as such reasonable accommodation must be made by the employer.

      10 ||                45.     As aresult of Plaintiffs diagnosis of anal fissure, endometriosis, cyst on right

      11 IJ ovary, cataract / blurry vision and diverticulitis Plaintiff suffered from a "medical condition"
     12          as defined by California Government Code §12926 (h). At all relevant times, Defendants
     13          were aware of this condition. Defendant not only refused to accommodate Plaintiffs

     14        condition, Defendant did not eVen engage in the interactive process with Plaintiff instead

     15 || choosing, on December 9,2014, to simply dispose of Plaintiff by firing her,

     16 ||                 46.     Plaintiff requested a simple reasonable accommodation from Defendants

     17        limiting her work week to just forty (40) hours in order to lessen Plaintiff s personal medical

     18        burden which included physician written approval for no more than forty (40) hours per work

     19       week upon Plaintiffs return to work. Plaintiffs medical request for accommodation was

     20       rejected and Defendants' did not even begin to engage in the interactive process, as Plaintiff

     21       was simply fired the morning she returned from medical leave.                                     •

     22                •47.       Defendants discriminated andretaliated againstPlaintiffbasedonhermedical

     23       condition. Defendants refused to provide her any reasonable accommodation and this denial

    24        and termination on December 9,2014 caused Plaintiff severe physical and emotional injury.

    25                 48.        As a proximate result of Defendants' conduct, Plaintiff has suffered harm,

    26        including lost earnings and other employment benefits, humiliation, embarrassment and

    27        mental anguish, all to her damage in a sum to be ascertained at trial.

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                        49.     As aproximate result of Defendants' discriminatoiy conduct, Plaintiffhas and

             Will incur attorneys* fees and costs, which she is entitled to recover under California

            Government Code § 12965(b).
                    50.        The conduct of Defendants in retaliating and terminating Plaintiff, was

            oppressive, malicious and intentionally done by managerial agents, and such conduct

            warrants the imposition of punitive damages in a sum according to proof at the time of trial.



                                                 PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff PATRICIA ANNE T. SAMSON requests relief against

      10    Defendants, and each of them, as follows:

      1       FOR THE FIRST. SECOND. THIRD. AND FOURTH CAUSES OF ACTION FOR

      12       DISCRIMINATION. VIOLATION OF PUBLIC POLICY. RETALIATION. AND

      1                                     FAILURE TO ACCOMMODATE.

     14            1.         For general damages for humiliation, mental anguish and emotional distress

     15                       according to proof at the time of trial;

     16            2.         For special and compensatory damages for past, present and future loss of

     17                       earnings, compensation, job benefits, perks, insuranceetc., according to proof

     18                       at trial;

     19           3.          For medical expenses resulting from treatment, etc.;

     20           4.          For punitive damages according to proof at the time of trial;

     21          , 5.         For Plaintiff's attorneys' fees according to proof at trial; and

     22           6.          For such other and further relief as the Court may deem proper.

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     24    Dated: May 16,2016                        LAW OFFICES OF VICTOR L. GEORGE

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    26                                               Bv:         .        . .
                                                             VICTOR L. GEORGE
    27                                                       WAYNE C. SMWH          .
                                                             Attorney for Pl&ntiff,
    28                                                       PATRICIA ANNE T. SAMSON

                                                            14
                                                COMPLAINT FOR DAMAGES
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                                      DK M AND FPU .TTJRY TRIAL
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                  PLAINTIFF, PATRICIA ANNE T. SAMSON, hereby demands trial by jury in this
       3
           action now before the Court.                    .
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           Dated: Mayl6,2016                  LAW OFFICES OF VICTOR L. GEOROB
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                                                     telTORL. GEORGE^/
                                                    WAYNE C. SMITHS
       9                                            Attorneys for Plaintiff
                                                    PATRICIA ANNE T. SAMSON
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                                          COMPLAINT FOR DAMAGES
